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             R. Kyle Busse, OSB No. 070994
             kbusse@busseandhunt.com
             BUSSE & HUNT
             621 S.W. Morrison St., Ste. 521
             Portland, OR 97205
             Tel    : (503) 248-0504
             Fax    : (503) 248-2131

             Roxanne L. Farra, OSB No. 901760
             rfarra@bendbroadband.com
             ROXANNE L. FARRA, P.C.
             P.O. Box 5217
             Bend, OR 97708-5217
             Tel    : (541) 385-3017
             Fax    : (541) 330-1556

                           Attorneys for Defendants



                                                         IN THE UNITED STATES DISTRICT COURT

                                                                    FOR THE DISTRICT OF OREGON

                                                                                  EUGENE DIVISION

             JUSTIN J. BAKER,                                                                                  Case No. 6:16-cv-01793-AA

                                                   Plaintiff,

                           v.                                                                                  DEFENDANT SCOTT N.
                                                                                                               MARICLE’S MOTION FOR
             MARICLE INDUSTRIES, INC., dba                                                                     SUMMARY JUDGMENT;
             SERVICEMASTER CLEANING                                                                            MEMORANDUM IN SUPPORT
             SPECIALISTS, and SCOTT N. MARICLE,                                                                THEREOF

                                                   Defendants.



                                                                           L.R. 7-1 CERTIFICATION

                           Pursuant to L.R. 7-1, counsel for Defendant Scott N. Maricle (“Maricle”), Roxanne Farra,

             certifies that she made a good faith effort through personal or telephone conferences with Plaintiff’s

             counsel, Michael J. Ross, to resolve the dispute embodied in this motion, and the parties were unable

             resolve the dispute.



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                                                                                        ROXANNE L. FARRA, P.C.
                                                                                              P.O. BOX 5217
                                                                                          BEND, OR 97708-5217
                                                                                  TEL (541) 385-3017 FAX (541) 330-1556

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                                                                                            MOTION

                           Pursuant to Rule 56, Defendant Maricle moves for summary judgment in his favor on

             Plaintiff’s ORS 659A.030(1)(g) claim for aiding and abetting; the only claim alleged against Maricle

             in the Complaint.

                                                                                    MEMORANDUM


             I.            FACTS

                           The facts, for purposes of this motion, are simple:

                           Plaintiff was employed by Defendant Maricle Industries, Inc. (“Maricle Industries”). Compl.

             At 2, ¶3; Exhibit 1 to Declaration of Roxanne L. Farra (“Farra Decl.”), Plaintiff’s Sworn BOLI

             Compl. at 1, ¶1. Maricle is an officer (President) of Maricle Industries. Compl. at 2, ¶3; Ans. at 2,

             ¶3. Plaintiff alleges he has PTSD. Compl. at 2, ¶4. Plaintiff claims that “[o]n or about October 24,

             2014, while at work, I overheard Scott Maricle and a project manager talking about me and my

             PTSD in an offensive manner.” Farra Decl., Ex. 1 at 1, ¶4; Compl. at 2, ¶5. Plaintiff subsequently

             “complained to Maricle about the derogatory comments regarding his PTSD.” Compl. at 2, ¶5;

             Farra Decl., Ex. 1 at 1, ¶4. In response, according to Plaintiff, Maricle “questioned the legitimacy”

             of Plaintiff’s “PTSD,” “made disparaging remarks about his PTSD, and terminated” Plaintiff.

             Compl. at 2-3, ¶5; Farra Decl., Ex. 1 at 1, ¶4.



             II.           DISCUSSION

                           A.           Plaintiff’s Aiding and Abetting Claim is Time-Barred

                           An employee who chooses to file a complaint with the Oregon Bureau of Labor and

             Industries (“BOLI”) before initiating a civil suit must file his BOLI complaint “no later than one

             year after the alleged unlawful practice.” ORS 659A.820(2). The complaint must “state[] the name

             and address of the person alleged to have committed the unlawful practice.” Id. Here, as initially

             filed, Plaintiff’s BOLI complaint alleged a violation of ORS 659A.112, only, against a single


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                                                                                        ROXANNE L. FARRA, P.C.
                                                                                              P.O. BOX 5217
                                                                                          BEND, OR 97708-5217
                                                                                  TEL (541) 385-3017 FAX (541) 330-1556

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             respondent: Maricle Industries. Farra Decl., Ex. 1. On or about April 7, 2016, Plaintiff purported

             to file an “amended complaint” with BOLI, adding Maricle, individually, as a respondent on an

             aiding and abetting claim under ORS 659A.030(1)(g). Farra Decl., Exhibit 2. The “amended”

             complaint is undated, and unsigned. Id.; ORS 659A.820(2) (BOLI complaints must be signed under
             oath by the complainant.)

                           Plaintiff’s initial BOLI complaint makes clear that his claimed discrimination occurred on

             October 24, 2014. Plaintiff’s initial BOLI complaint named one respondent only: Maricle

             Industries. It was not until one year and 5+ months “after the alleged unlawful practice,” ORS

             659A.820(2), that Plaintiff first attempted to file a claim against Maricle, individually. Plaintiff’s

             claim against Maricle is based on a different statute, ORS 659A.030(1)(g). Any claim against

             Maricle brought under this statute was required to be filed no later than one year from the date of

             the alleged discriminatory act; here, October 24, 2015. ORS 659A.820(2); ORS 659A.875(1).

             Plaintiff’s ORS 659A.030(1)(g) claim against Maricle is 5+ months late. The claim is time-barred

             and for that reason alone should be dismissed.

                           B.           No Aiding and Abetting Liability Against Principal Actor

                           In Peters v. Betaseed, Inc., 2012 U.S. Dist. LEXIS 162443 (D. Or. 2012) (Exhibit 1), this

             Court dismissed the plaintiff’s aiding and abetting claim against the principal actor under ORS

             659A.030(1)(g). Peters sued both his employer (Betaseed) for an alleged violation of ORS

             659A.199, and Betaseed’s “Chief Executive Officer” (Wickstrom) for aiding and abetting this

             alleged violation, under ORS 659A.030(1)(g). In dismissing the plaintiff’s aiding and abetting

             claim, this Court wrote:

                           Wickstrom was both plaintiff’s manager and the executive authority of Betaseed ... Because
                           Wickstrom took action to terminate the plaintiff within his role as president of Betaseed, I
                           find that plaintiff’s claim against Wickstrom for aiding and abetting under §659A.030(1)(g)
                           makes little sense under the plain meaning of the statute. Accordingly, summary judment
                           is granted in favor of defendants as to plaintiff’s claim for aiding and abetting under Or. Rev.
                           Stat. §659A.030(1)(g).

             See also:


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                                                                                        ROXANNE L. FARRA, P.C.
                                                                                              P.O. BOX 5217
                                                                                          BEND, OR 97708-5217
                                                                                  TEL (541) 385-3017 FAX (541) 330-1556

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                           Sniadoski v. Unimart of Portland, Inc., 1993 U.S. Dist. LEXIS 21165 (D. Or. 1993) (“aiding
                           and abetting liability makes little sense against an employee alleged to be an active
                           participant in the asserted harm”);

                           Gaither v. John Q. Hammons Hotels Mgmt., LLC, 2009 U.S. Dist. LEXIS 130491, *9 (D.
                           Or. 2009) (“there are undoubtedly situations in which a plaintiff fails to allege aiding and
                           abetting liability against a co-employee, alleging instead only liability as a primary actor,
                           and making Sniadoski’s concern that you cannot aid and abet yourself relevant”);

                           White v. Amedisys Holding, LLC, 2012 U.S. Dist. LEXIS 185837, *13 (D. Or. 2012) (“a
                           person cannot aid and abet herself”);

                           Hannan v. Bus. Journal Publ’ns, Inc., 2015 U.S. Dist. LEXIS 160192, *58 (D. Or. 2015)
                           (“Wessel cannot be liable for aiding and abetting age discrimination where he was the
                           primary actor in Hannan’s termination”) (Beckerman, M.J.), adopted Opinion and Order
                           (November 30, 2015) (Simon, J.).

                           Here, as in Betaseed, Plaintiff sued both his employer (Maricle Industries) for an alleged

             violation of Oregon’s anti-discrimination statutes, and Maricle Industries’ officer (Maricle) for

             aiding and abetting this alleged violation. Plaintiff’s sworn statement in his initial BOLI complaint,

             and his statement in his Complaint filed herein, is that Maricle took action to terminate Plaintiff

             within his role as President of Maricle Industries. Under these circumstances, Betaseed, Sniadoski,

             Gaither, White, and Hannan call for the dismissal of Plaintiff’s aiding and abetting claim against

             Maricle, as a matter of law.

                           For this, additional reason, Plaintiff’s ORS 659A.030(1)(g) claim must be dismissed.



             III.          CONCLUSION

                           For the reasons, and in accordance with the authorities listed above, Plaintiff’s ORS

             659A.030(1)(g) aiding and abetting claim against Maricle should be dismissed, with prejudice. This



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                                                                                        ROXANNE L. FARRA, P.C.
                                                                                              P.O. BOX 5217
                                                                                          BEND, OR 97708-5217
                                                                                  TEL (541) 385-3017 FAX (541) 330-1556

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             is the only claim against Maricle and, as such, judgment should be entered dismissing Maricle from

             this action.

                           DATED: December 1, 2016.


                                                                                                  /s/ Roxanne L. Farra
                                                                                                 Roxanne L. Farra, OSB No. 901760
                                                                                                 ROXANNE L. FARRA, P.C.
                                                                                                 P.O. Box 5217
                                                                                                 Bend, OR 97708-5217
                                                                                                 rfarra@bendbroadband.com
                                                                                                 Tel. (541) 385-3017

                                                                                                 and

                                                                                                 R. Kyle Busse, OSB No. 070994
                                                                                                 BUSSE & HUNT
                                                                                                 621 S.W. Morrison St., Ste. 521
                                                                                                 Portland, OR 97205
                                                                                                 kbusse@busseandhunt.com
                                                                                                 Tel. (503) 248-0504

                                                                                                 Attorneys for Defendants




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                                                                                        ROXANNE L. FARRA, P.C.
                                                                                              P.O. BOX 5217
                                                                                          BEND, OR 97708-5217
                                                                                  TEL (541) 385-3017 FAX (541) 330-1556

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                                         Peters v. Betaseed, Inc.
                            United States District Court for the District of Oregon
                           November 9, 2012, Decided; November 9, 2012, Filed
                                        Case No. 6:11-CV-06308-AA


Reporter
2012 U.S. Dist. LEXIS 162443 *; 2012 WL 5503617
                                                        violation of Or. Rev. Stat. § 659A.030(1)(g).
BRUCE PETERS, Plaintiff, v. BETASEED, INC. a            Defendants now move for summary judgment on
foreign business corporation, and Kurt Wickstrom,       both claims. On October 11, 2012, the court heard
Defendants.                                             oral argument on the motion. Defendants' motion is
                                                        denied in part and granted in part.
Core Terms
termination, retaliation, labeling, practices, seed,    I. FACTUAL BACKGROUND
aiding and abetting, summary judgment,
                                                        Betaseed is a supplier of sugar beet seeds to North
complaints, protected activity, prima facie case,
                                                        American growers. In 1987 or 1989, plaintiff was
employees, employment action, plaintiff's claim,
                                                        hired as Plant Manager for Betaseed's facility in
non-discriminatory, defendants', genuine, email,
                                                        Tangent, Oregon. All seed harvested for
material fact, causal link, substitution, deposition,
                                                        commercial use is processed, packaged, and
believes, meetings, Plant, fails
                                                        shipped from the Tangent facility. Plaintiff was
Counsel: [*1] For Plaintiff: Pamela S. Hediger,         eventually promoted to Director of Operations for
Laurie J. Hart, Evashevski, Elliott, Cihak &            the Tangent facility, by then-president Joe Dahmer.
Hediger, PC, Corvallis, OR.                             As Director of Operations, plaintiff was responsible
                                                        for [*2] all aspects of pre-commercial and
For Defendants: Jennifer A. Nelson, Littler             commercial seed production, and all management
Mendelson, PC, Portland, OR.                            responsibilities related to personnel and operations
                                                        at Tangent. All employees there ultimately reported
Judges: Ann Aiken, United States District Judge.        to plaintiff.

Opinion by: Ann Aiken                                   Before being purchased by customers, seeds
                                                        produced by Betaseed are first field-tested.
Opinion                                                 Customers base their purchasing decisions on the
                                                        results of these field tests. According to defendants,
OPINION AND ORDER
                                                        customer orders for particular seed varietals cannot
AIKEN, Chief Judge:                                     always be filled, and Betaseed may substitute other
                                                        seeds if appropriate. Betaseed employs seed
Plaintiff Bruce Peters filed this action against        breeders whose duties include determining which,
Betaseed, Inc. and its president, Kurt Wickstrom,       if any, seeds may be suitable for substitution. These
alleging whistleblower retaliation against Betaseed     substituted seeds often share a common parent and
in violation of Or. Rev. Stat. § 659A.199, and          are selected due to similar characteristics with the
aiding and abetting liability against Wickstrom in      seed being replaced. This substitution practice was

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                                       2012 U.S. Dist. LEXIS 162443, *2

in place at Betaseed as early as 2006. Betaseed         of every package matched the label. Plaintiff made
relied on their breeders to determine if the            no comment at this time about the legality or
substituted seed was of equal or better field           morality of Betaseed's labeling practices.
performance, and defendants contend there were no
customer complaints regarding the practice.             Plaintiff received a call from Wickstrom shortly
                                                        thereafter, indicating that they could discuss
In July 2009, Kurt Wickstrom became president of        plaintiff's concerns during Wickstrom's upcoming
Betaseed and brought with him a new management          visit to the Tangent facility. When Wickstrom
style. Plaintiff admits that, initially, he was not     arrived, plaintiff states that Wickstrom pointed his
fully on board with some [*3] of Wickstrom's            finger at plaintiff and told plaintiff that he needed
changes, such as the implementation of strategic        to decide whether he was with Wickstrom or
planning meetings, believing that they were too         against him, or something to that effect. Plaintiff
costly and not worthwhile. Plaintiff came to            recalls that Wickstrom then left and that they never
recognize Wickstrom's changes as beneficial, and        again spoke of the seed labeling issue. Plaintiff did
believes he initially misunderstood Wickstrom's         not tell anyone about this encounter, and he made
goals for Betaseed.                                     no further reports to anyone in a supervisory role
                                                        about Betaseed's labeling practices.
Plaintiff asserts that he voiced concerns about
Betaseed's labeling practices to various Betaseed       Subsequent to this conversation with Wickstrom,
employees on multiple occasions, from 2005 up           plaintiff received positive [*5] performance
until his termination. These employees included         reviews for the 2008-2009 period, and received
plaintiff's subordinates who were responsible for       improved reviews during the 2009-2010 period.
blending and labeling the seed, members of              Plaintiff believes that these evaluations were fair.
Betaseed's leadership and strategic teams, human
resources directors, and Wickstrom himself.             In the spring of 2011, Ofelia Wegley, Human
Plaintiff specifically recalls approximately fifty      Resources Director at Betaseed, received
discussions with Jay Miller (Director of Plant          complaints regarding an employee issue at the
Breeding, Product Management, and Regulatory            Tangent facility and plaintiff's method of dealing
Affairs), ten with John Enright (CFO), twenty with      with it. Two employees, Mike Leach and Brian
Mark Schmidt (Director of Sales and Marketing),         Baldwin, complained that plaintiff had allowed a
one-hundred and fifty with Heather Nunn, as well        third employee, Jesus Ibarra, to falsify time cards.1
as an unspecified number of discussions with Art        Leach and Baldwin further alleged that plaintiff
Quinn, Steve Libsack, and Joe Dahmer. Pl.'s Decl.       generally displayed favoritism towards Ibarra while
¶ 9.                                                    ignoring complaints about his behavior. Baldwin
                                                        also complained that plaintiff tended to ignore other
Plaintiff recalls communicating twice with              supervisors' concerns and generally displayed poor
Wickstrom about his concerns. The first                 leadership. Wegley's investigation substantiated
conversation with Wickstrom occurred in 2008, at        these complaints overall, and both plaintiff and
which point plaintiff told [*4] Wickstrom that he
believed Betaseed's labeling practices were illegal
                                                        1 With  respect to this evidence, plaintiff filed a motion to strike three
and immoral. Plaintiff states that Wickstrom
                                                        portions of Wickstrom's declaration on the basis that they contain
dismissed his concerns and advised plaintiff that       inadmissable hearsay, were not based on Wickstrom's personal
nobody would be going to jail. The second               knowledge, and offered a legal opinion about an ultimate legal fact.
communication with Wickstrom occurred in 2009,          See Wickstrom Decl. ¶¶ 6, 9, 13. While plaintiff correctly [*6] notes
                                                        that a trial court may not consider inadmissable evidence in ruling on
when plaintiff suggested via email that Betaseed
                                                        a motion for summary judgment, none of the statements that plaintiff
would sell more seed in the long run if the contents    moved to strike are dispositive in this analysis, and I deny the motion
                                                        as moot.

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Ibarra were reprimanded as a result.                     pleadings and identify facts which show a genuine
                                                         issue for trial. Id. at 324.
As a result of these complaints and Wickstrom's
own personal observations of plaintiff, Wickstrom        Special rules of construction apply to evaluating
states that he reviewed plaintiff's email account.       summary judgment motions: (1) all reasonable
Wickstrom found emails sent by plaintiff that he         doubts as to the existence of genuine issues of
felt reflected a lack of support in the new direction    material fact should be resolved against the moving
of Betaseed, a refusal to accept both a team-based       party; and (2) all inferences to be drawn from the
culture and responsibility for important issues, a       underlying facts must be viewed in the light most
lack of transparency in sharing important                favorable to the nonmoving party. [*8] T.W. Elec.,
information with colleagues and subordinates, and        809 F.2d at 630.
inappropriate dissemination of confidential
information to subordinates.                             III. DISCUSSION

On May 2, 2011, Wickstrom terminated plaintiff's         Plaintiff alleges that Betaseed terminated his
employment with Betaseed, citing the complaints          employment in retaliation for his statements
against him and Wickstrom's assessment of the            regarding Betaseed's labeling practices, in violation
contents of his email.                                   of Oregon's whistleblower protection statute. Or.
                                                         Rev. Stat. § 659A.199(1). Plaintiff alleges that
On August 29, 2011, plaintiff filed this action.
                                                         Betaseed retaliated against him because he voiced
Plaintiff believes that Wickstrom's explanation is       his concern that Betaseed's labeling practices were
pretextual, and that he was instead terminated for       illegal under federal law. Plaintiff also alleges that
speaking out against Betaseed's labeling practices,      Wickstrom personally violated Or. Rev. Stat. §
which he believed to be illegal under federal law.       659A.030(1)(g) by aiding and abetting Betaseed's
                                                         retaliation against him.
II. STANDARD
                                                         A. Betaseed's Alleged Retaliatory Termination
Summary judgment is appropriate [*7] "if the
movant shows that there is no genuine dispute as to      Oregon's whistleblower protection statute makes it
any material fact and the movant is entitled to          unlawful for a private employer to "discriminate or
judgment as a matter of law." Fed. R. Civ. P. 56(a).     retaliate against an employee . . . for the reason that
The materiality of a fact is determined by the           the employee has in good faith reported
substantive law on the issue. T.W. Elec. Serv., Inc.     information that the employee believes is evidence
v. Pac. Elec. Contractors Ass'n, 809 F.2d 626, 630       of a violation of a state or federal law, rule or
(9th Cir. 1987). The authenticity of a dispute is        regulation." Or. Rev. Stat. § 659A.199(1). Claims of
determined by whether the evidence is such that a        discrimination under Oregon law before federal
reasonable jury could return a verdict for the           courts sitting in diversity are analyzed under the
nonmoving party. Anderson v. Liberty Lobby, Inc.,        federal burden-shifting framework. See McDonnell
477 U.S. 242, 248, 106 S. Ct. 2505, 91 L. Ed. 2d         Douglas Corp. v. Green, 411 U.S. 792, 93 S. Ct.
202 (1986).                                              1817, 36 L. Ed. 2d 668 (1973); Texas Dep't of Cnty.
                                                         Affairs v. Burdine, 450 U.S. 248, 101 S. Ct. 1089,
The moving party has the burden of establishing the
                                                         67 L. Ed. 2d 207 (1981). [*9] Under this analysis,
absence of a genuine issue of material fact. Celotex
                                                         plaintiff must first make a prima facie case of
Corp. v. Catrett, 477 U.S. 317, 323, 106 S. Ct.
                                                         discrimination. McDonnell Douglas, 411 U.S. at
2548, 91 L. Ed. 2d 265 (1986). If the moving party
                                                         802. If plaintiff successfully makes a prima facie
shows the absence of a genuine issue of material
                                                         case of discrimination, the burden then shifts to
fact, the nonmoving party must go beyond the

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defendants to provide a legitimate, non-                                   Or. Nov. 1, 2011). Defendants argue that plaintiff
discriminatory reason for the employment action.                           fails to do so. In support of this argument,
Id. The then burden shifts back to plaintiff to show                       defendants cite plaintiff's deposition, wherein he
that defendants' proffered explanation is pretext.2                        admitted that while he thought [*11] the labeling
Id. at 804.                                                                practices were illegal, his only basis for such a
                                                                           belief was a grass-seed labeling class he attended at
Defendants argue that plaintiff's claim must fail                          Oregon State University 25 years prior. Peters Dep.
because he cannot establish a prima facie case of                          202:1-25; 203:1-11. Defendants further note that
retaliation, and even if he could, Betaseed had a                          plaintiff admitted to not knowing whether
legitimate and nondiscriminatory basis [*10] for                           Betaseed's practices were actually illegal. Peters
terminating plaintiff. Defendants also assert that                         Dep. 203:16-20. Defendants also emphasis that
plaintiff's aiding and abetting claim again                                plaintiff never reported Betaseed's labeling
Wickstrom must fail if his retaliation claim against                       practices to anyone outside of the company, and
Betaseed fails.                                                            was himself ultimately responsible for seed quality,
                                                                           packaging, and labeling.
1. Plaintiff's Prima Facie Case of Retaliation
                                                                           However, plaintiff need not be objectively correct
To show a prima facie case of retaliation, plaintiff
                                                                           about the existence of a statutory violation in order
must prove three elements: 1) he engaged in a
                                                                           to sufficiently state a prima facie claim of
protected activity; 2) he suffered an adverse
                                                                           retaliation. Krouse v. Ply Gem Pacific Windows
employment action; and 3) a causal link between
                                                                           Corp., 803 F. Supp. 2d 1220, 1228 (D. Or. 2011)
the protected activity and adverse action. Ruggles v.
                                                                           (finding plaintiff must only have believed that the
Cal. Polytechnic State Univ., 797 F.2d 782, 785
                                                                           subject of the complaint violated applicable law).
(9th Cir. 1986). Defendants concede that plaintiff
                                                                           Further, plaintiff testified in his deposition that Jay
suffered an adverse employment action, but they
                                                                           Miller, the "product manager," was in a position to
argue that plaintiff cannot satisfy the protected
                                                                           know whether Betaseed's practices were illegal and
activity or causal link elements of the prima facie
                                                                           admitted to plaintiff that they were. Peters Dep.
case.
                                                                           79:2-16. By plaintiff's own declaration, he was
a. Plaintiff's Engagement in Protected Activity                            concerned that Betaseed may suffer as the result of
                                                                           its labeling actions, [*12] including fines and plant
Defendants contend that, to show that he was                               closures. Peters Decl. ¶ 9. Construing these facts in
engaged in a protected activity, plaintiff must offer                      favor of plaintiff, the evidence does not support
evidence of his good faith belief that Betaseed's                          defendants' assertion that plaintiff lacked a good
labeling practices were in violation of applicable                         faith belief that Betaseed's labeling practices were
law. Javansalehi v. BF & Assocs., Inc., 2011 U.S.                          illegal.
Dist. LEXIS 126370, 2011 WL 5239752, at *9 (D.
                                                                           In the alternative, defendants argue that plaintiff
                                                                           must present evidence that he complained to a
2 State courts in Oregon do not observe the third prong of the             supervisor who had no previous knowledge of the
McDonnell Douglas analysis. See, e.g., Lansford v. Georgetown              alleged illegal activity and was not the alleged
Manor, 192 Or. App. 261, 277, 84 P.3d 1105, 1115 (2004).                   wrongdoer. Franklin v. Clarke, 2011 U.S. Dist.
However, the Ninth Circuit has held that federal procedural law
                                                                           LEXIS 102231, 2011 WL 4024638, at *9 (D. Or.
governs in Oregon employment discrimination cases before federal
courts sitting in diversity, stating that the Oregon rule is not outcome   Sept. 9, 2011) (citing Clarke v. Multnomah Cnty.,
determinative and that there is an overriding federal interest in          2007 U.S. Dist. LEXIS 21427, 2007 WL 915175, at
applying the McDonnell Douglas burden-shifting standard. Snead v.          *14 (D. Or. Mar. 23, 2007)). This argument is
Metropolitan Prop. & Cas. Ins. Co., 237 F.3d 1080, 1090-91 (9th
                                                                           misplaced. In both Franklin and Clarke, this Court
Cir. 2001).

                                                                Roxanne Farra
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considered claims of retaliation under Or. Rev. Stat.   alleged protected activity to support a causal link.
§ 659A.203, which applies to public employers.          See Guerrero v. State of Hawaii, 662 F. Supp. 2d
Betaseed is a private employer, and plaintiff's claim   1242 (D. Haw. 2009). To bolster this argument,
against Betaseed was brought under § 659A.199.          defendants emphasize the positive and improving
Neither Franklin nor the plain language of              performance evaluations plaintiff received in 2009
§659A.199 require that the recipient of the report be   and 2010.
a supervisor with no prior involvement in or
knowledge of the alleged illegal activity. Indeed, in   As to temporal proximity, plaintiff identifies six
Franklin, this Court reiterated its prior conclusion    "key events" at Betaseed that occurred in close
that § 659A.199 "protects employees who make an         temporal proximity to his termination: 1) new
external or internal report that is [*13] intended or   corporate strategy to plant less seed and use up
likely to result in the employer's enforcement or       existing stocks; 2) increased emphasis on saving
compliance with state and federal law," without         money and increased profits; 3) lowest acreage of
specifying to whom the report must be made.             crop planted in 25 years; 4) a complaint by plaintiff
Franklin, 2011 U.S. Dist. LEXIS 102231, 2011 WL         to Jay Miller regarding the preceding events; 5) a
4024638, at *9 (quoting Merrill v. M.I.T.C.H.           suggestion by plaintiff to Ofelia Wegley that she
Charter School Tigard, 2011 U.S. Dist. LEXIS            open an investigation into wrongdoing at the top of
36497, 2011 WL 1457461, at *8 (D. Or. Apr. 4,           the company; and 6) Wegley's internal
2011)). Viewing this evidence in the light most         investigation, which resulted in no disciplinary
favorable to his case, plaintiff establishes that he    action against plaintiff. Pl.'s Mem. at 12. Plaintiff
was engaged in a protected activity for purposes of     argues that these events, occurring in the weeks
summary judgment.                                       immediately prior to his termination, support an
                                                        inference that he was terminated for again
b. Adverse Employment Action                             [*15] speaking out about Betaseed's substitution
                                                        and labeling practices, which he perceived to be on
Defendants concede for purposes of summary              the rise. Id.
judgment that plaintiff's termination constitutes an
adverse employment action. Defs.' Mem. at 9.            Defendants concede that plaintiff's key events
                                                        occurred in close temporal proximity to plaintiff's
c. Causal Link                                          termination, but assert that such evidence "falls far
                                                        short of creating an issue of fact as to causation."
To establish causal link between his protected          Defs.' Reply Mem. at 3. Defendants argue that
activity and his termination, plaintiff must show       plaintiff must present more than "a self-serving
that his protected activity was one of the reasons      statement to create a genuine issue of material
for his termination and, but for the complaints, he     fact." Manatt v. Bank of America, 339 F.3d 792,
would not have been terminated. See Ruggles, 797        801 (9th Cir. 2003) ("Because Manatt failed to
F.2d at 785 (citing Kauffman v. Sidereal Corp., 695     introduce any direct or specific and substantial
F.2d 343, 345 (9th Cir. 1982)).                         circumstantial evidence of pretext, summary
                                                        judgment must be affirmed.").
Defendants point out that plaintiff alleges only one
act of retaliation, his termination, and only one       However, defendants' argument does not address
retaliator, Wickstrom. Defendants thus argue that       plaintiff's assertion that he continued to speak out
plaintiff cannot rely on temporal proximity to show     regarding Betaseed's labeling practices, including
a causal relation, because his [*14] last complaint     alleged conversations with Jay Miller, John
to Wickstrom was two years before his termination.      Enright, Mark Schmidt, Heather Nunn, Art Quinn,
Defendants further argue that plaintiff is unable to    Steve Libsack, Joe Dahmer, and various
show a "pattern of antagonism" following the

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unspecified subordinates. See Peters Decl. ¶ 9.          work, including his leadership ability, general
Plaintiff also stated in his deposition that he          management style, attitude, and refusal to follow
continued to complain about Betaseed's labeling          direction. Wickstrom apparently felt that these
practices to fellow employees, including Jay Miller,     traits presented management concerns too large to
complaints that arguably could have been                 overcome, leaving termination as the only option.
discovered [*16] by or voiced directly to                While defendants assert a legitimate, non-
Wickstrom. See Peters Dep. 78:13-25; 79:1-16.            discriminatory reason, it is based solely on
Various other deposition statements suggest that         Wickstrom's version of events and his subjective
Wickstrom was at least likely to have been present       interpretation of plaintiff's emails. Whether
at meetings in which plaintiff complained about the      Wickstrom's version and interpretation are credible
labeling practice. See, e.g., Nunn Dep. 15:1-7           is a question for a jury, not this court. See, e.g.,
(Wickstrom was "certainly" present in meetings at        Cornwell v. Electra Cent. Credit Union, 439 F.3d
times); Schmidt Dep. 21:7-20 (meetings would             1018, 1034 (9th Cir. 2006).
"involve Tangent and others"); Wickstrom Dep.
28:9-25 (implying that plaintiff voiced objections       Moreover, plaintiff received positive and favorable
during meetings in which Wickstrom was                   evaluations [*18] in March of 2009 and 2010.
involved). Whether Wickstrom was aware of those          Plaintiff was terminated in May of 2011.
complaints, and if so, whether they played any role      Wickstrom Decl. ¶ 7. The record does not reflect
in Wickstrom's decision to terminate plaintiff are       that any performance evaluation was completed in
factual determinations for the jury.                     2011, yet Wickstrom claimed that plaintiff was
                                                         terminated for his poor performance as a manager.
For purposes of summary judgment, plaintiff has          Id. The Ninth Circuit has stated that unwarranted
presented sufficient evidence that-when considered       reductions in performance scores can constitute
as a whole-raises questions of fact regarding            evidence of pretext. See Winarto v. Toshiba Am.
causation. Therefore, I find that plaintiff has made a   Elecs. Components, Inc., 274 F.3d 1276, 1284 (9th
prima facie case of retaliation for purposes of          Cir. 2001) (citing Yartzoff v. Thomas, 809 F.2d
summary judgment, and turn now to the second             1371, 1377 (9th Cir. 1998)). In Yartzoff, the
step of the McDonnell Douglas analysis.                  plaintiff produced evidence of average and above
                                                         average performance ratings over a period of years
2. Defendants' Legitimate, Non-Discriminatory            prior to his complaints, followed by sub-average
Reason and Pretext                                       ratings for the first time in his tenure afterwards.
Defendants contend that, even if plaintiff is able to    Yartzoff, 809 F.2d at 1377. The court explicitly
make his prima facie case of retaliation, his claim      stated that, although defendant had affidavits in
must fail [*17] because he cannot demonstrate that       support of their action, a fact-finder should be
Betaseed's purported legitimate and                      allowed to weigh such evidence. Id.
nondiscriminatory reason for his termination was         The facts here are sufficiently analogous. Both
pretextual.                                              parties agree that plaintiff received positive
                                                         performance reviews in 2009, which improved in
Defendants rely on plaintiff's purported problems
                                                         2010, and Wickstrom appears to have participated
as an employee and manager to counter his prima
                                                         in the preparation of these evaluations. See Defs.'
facie claim of retaliation. Specifically, defendants
                                                         Mem. at 7. Yet, in [*19] 2011, with no objective
contend that plaintiff's termination resulted from
                                                         evaluation or other indication in the record that
emails discovered by Wickstrom in the wake of the
                                                         plaintiff's outward performance had changed,
time-card investigation involving plaintiff and
                                                         Wickstrom determined that plaintiff presented
Ibarra. According to Wickstrom's declaration,
                                                         "insurmountable concerns that precluded any
plaintiff exhibited certain performance problems at

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solution beyond his termination." Defs.' Mem. at 4.        (finding that individual liability under § 659A.030
Whether this precipitous fall in plaintiff's alleged       made "little sense" in light of the equitable
performance, severe enough to warrant immediate            remedies then available under the statute).
termination, was legitimate or pretextual is also a        However, plaintiff argues that this court has found
determination for a fact-finder. While defendant's         that the 2007 amendments to Or. Rev. Stat. §
rationale could certainly be non-discriminatory, it is     659A.885(3) recognized claims against individuals
not so clearly legitimate as to support a grant of         such as employees, as compensatory and punitive
summary judgment. Plaintiff's declaration and              damages were added as remedies. Chambers v.
deposition testimony, as well as his apparently            United Rentals, Inc., 2010 U.S. Dist. LEXIS 69291,
positive history as an employee, is sufficient             2010 WL 2730944, at *2 (D. Or. Jul. 7, 2010).
evidence to warrant factual consideration by a jury.        [*21] While plaintiff is correct, Chambers is only
                                                           relevant insofar as it establishes that individual
Accordingly, summary judgment in favor of                  employees may be held liable for aiding and
defendants as to plaintiff's claim of retaliation          abetting an illegal act; it does not discuss whether
under Or. Rev. Stat. § 659A.199 is denied.                 an individual who takes employment action on
                                                           behalf of a company can be held liable in aiding
B. Plaintiff's Aiding and Abetting Claim Against           and abetting the company in an unlawful act.
Wickstom
                                                           Plaintiff argues that Wickstrom's argument fails to
Defendants also assert that plaintiff's second claim       account for the fact that he exercised his executive
against Wickstrom under Or. Rev. Stat. §                   authority over Betaseed and "compelled the
659A.030(1)(g), for aiding and abetting Betaseed in        wrongful termination" of plaintiff by Betaseed, thus
retaliating against plaintiff, must fail for two           aiding and abetting in Betaseed's retaliation.
reasons.                                                   Plaintiff cites Gaither in support, noting that the
                                                           court found the plaintiff's former manager to be
First, defendants state that the aiding and
                                                           liable for aiding and abetting plaintiff's former
 [*20] abetting claim against Wickstrom must fail if
                                                           employer in unlawful discrimination. Gaither, 2009
the retaliation claim against Betaseed fails. While
                                                           U.S. Dist. LEXIS 130491, at *8-9.
true as a matter of law, plaintiff has adduced
sufficient evidence to defeat summary judgment             Yet the facts of this case differ from those of
with respect to his claim of retaliation under Or.         Gaither in one important respect: here, Wickstrom
Rev. Stat. § 659A.199, and this argument therefore         was both plaintiff's manager and the executive
fails.                                                     authority of Betaseed, whereas in Gaither the
                                                           manager and employer were separate and distinct.
Second, defendants contend that because
                                                           To apply Gaither under the present facts would be
Wickstrom's employment action on behalf of
                                                           to suggest that it is possible to aid and abet oneself.
Betaseed is the sole alleged retaliatory action
                                                           Because Wickstrom took action to terminate
against plaintiff, he is the primary actor in the
                                                            [*22] the plaintiff within his role as president of
alleged retaliation and therefore cannot be liable for
                                                           Betaseed, I find that plaintiff's claim against
aiding and abetting. See Demont v. Starbucks
                                                           Wickstrom for aiding and abetting under §
Corp., 2010 U.S. Dist. LEXIS 132987, 2010 WL
                                                           659A.030(1)(g) makes little sense under the plain
5173304 (D. Or. Dec. 15, 2010); Gaither v. John
                                                           meaning of the statute. Accordingly, summary
Q. Hammons Hotels Mgmt., 2009 U.S. Dist. LEXIS
                                                           judgment is granted in favor of defendants as to
130491 (D. Or. Sept. 3, 2009); see also Sniadoski v.
                                                           plaintiff's claim for aiding and abetting under Or.
Unimart of Portland, 1993 U.S. Dist. LEXIS 21165,
                                                           Rev. Stat. § 659A.030(1)(g).
1993 WL 797438, *2 (D. Or. Oct. 29, 1993)


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CONCLUSION

For the forgoing reasons, defendants' motion for
summary judgment (doc. 24) is DENIED with
respect to plaintiff's claim against Betaseed for
retaliation under Or. Rev. Stat § 659A.199, and
GRANTED with respect to plaintiff's claim against
Kurt Wickstrom for aiding and abetting under Or.
Rev. Stat. § 659A.030(1)(g). Plaintiff's motion to
strike (doc. 38) is DENIED as moot.

IT IS SO ORDERED.

Dated this 9th day of November, 2012.

/s/ Ann Aiken

Ann Aiken

United States District Judge



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